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                                                             Court-Appointed Temporary Receiver for Link Motion
                                                             Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                             the United States District Court, Southern District of New
                                                             York

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VIA ECF
Hon. Victor Marrero
United States Courthouse
500 Pearl Street
New York, New York 10007

October 4, 2022

        Re:      Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.)

Dear Judge Marrero,

I write to provide the Court with a further status update since my September 22, 2022 letter to the
Court (the “September 22 Letter”; ECF 351) regarding the unknown whereabouts of Mr. Lilin
“Francis” Guo (“Mr. Guo”), as well as my recent communications with the individual who claims to
have received a power of attorney document signed by Mr. Guo (the “Individual”). 1

Since the September 22 Letter to your Honor the Individual told my office that he has had further
communications with Mr. Guo’s wife, who told the Individual that due to the “pandemic lockdown”
in China, Mr. Guo’s reappearance has been delayed and that Mr. Guo is now estimated to re-appear
by the end of October 2022. The Individual further stated that his ability to carry out tasks and duties
is limited without direct authorization from Mr. Guo.

Without an official agent in mainland China, and with the limitations of the lockdown, my office is
unable to confirm the veracity of the Individual’s statements (including whether he has actually
communicated with Mr. Guo’s wife), or the reliability of the information that Mr. Guo’s wife
conveyed to the Individual concerning Mr. Guo’s whereabouts. My office intends to stay in contact
with the Individual and will continue to keep the Court informed of any further material
developments.

                                                              Respectfully Submitted,



                                                              Robert W. Seiden, Esq.
                                                              Court-Appointed Temporary Receiver for
                                                              Link Motion Inc.




1
 I am respectfully requesting that we maintain the anonymity of the Individual in light of past and continuing expressed
safety concerns.
